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      designations from the depositions
      previously affirmatively designated
      during this period.



 3. Parties meet and confer to attempt to                                    August 12-13, 2021
    reach agreement on witnesses for whom
    to submit limited advance deposition
    designations.

 4. Disclosure of limited advance                                              August 20, 2021
    affirmative designations for depositions
    to be played trial2

 5. Objections to limited advance
    affirmative deposition designations due
                                                                                August 27, 2021
      Limited advance Completeness and
      counter-designations due3

 6. Objections to limited advance
    completeness and counter-designations
    due                                                                       September 3, 2021

      Reply designations to limited advance
      designations due

 7. Submit limited advance deposition
    designations and related objections for
    ruling by Special Master Cohen                                           September 13, 2021

 8. Affirmative deposition designations                        9p.m. on the Friday two weeks prior to the
    disclosed4                                                      week of anticipated use at trial

 9. Objections to affirmative deposition                       Completeness and counter designations, as
                                                                 well as any objections to affirmative

         2
            For the convenience of the Court and the Special Master, to the extent the Parties have deposition
designations that they are fairly certain they will seek to play at trial, the Parties may submit, in advance of trial, a
limited number of deposition designations and related objections for rulings. The Parties will work in good faith to
present only those designations that they are fairly certain will be used at trial. Nothing here is meant to supplant the
procedures regarding deposition designations laid out in Categories of Deadlines 1-2 and 8-11.
          3
            Testimony from a different witness may not be used as a completeness or counter-designation at trial;
however, the Parties may supplement their affirmative designations, including by adding affirmative designations by
a new witness, to address any testimony affirmatively designated by the opposing Party by August 27, 2021.
          4
            The Parties agree to work in good faith to identify a mutually agreeable format for the exchange of page
and line citations for deposition testimony in a manner that permits their respective technical teams to efficiently cut
the final videos. The parties further agree that attorney objections and commentary shall not be included in any
parties’ designations.


                                                           2
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     designations due                        designations, will be disclosed on Monday
                                           prior to the week of anticipated use at trial at 7
     Completeness and counter-designations                       p.m.
     due5

 10. Objections to completeness and                        Reply designations, as well as any objections
     counter-designations due                             to completeness and counter designations, will
                                                               be disclosed on Wednesday at 7 p.m.
     Reply designations due

 11. Meet and confer regarding objections                  The parties will meet and confer regarding
                                                           objections to designations. All unresolved
                                                         objections shall be submitted to Special Master
                                                            Cohen and/or the Court for resolution on
                                                          Saturdays prior to the week of anticipated use
                                                                              at trial.

 12. Offering party provides final video files  The offering party will disclose final video
     and transcripts of deposition testimony files and transcripts by 12 PM noon on the day
     (including all remaining affirmative,                     prior to play.
     completeness, counter, and reply
     designations) to non-offering parties for
     their review prior to introduction at
     trial.




        5
          Testimony from a different witness may not be used as a completeness or counter-designation at trial;
however, the Parties may supplement their affirmative designations, including by adding affirmative designations
from a new witness, to address any testimony affirmatively designated by the opposing Party at the same time as
completeness and counter designations.


                                                        3
